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13
                     UNITED STATES DISTRICT COURT
14
        NORTHERN DISTRICT OF CALIFORNIA (SAN FRANCISCO DIVISION)
15
16   The Estate of Carson Bride by and
17   through his appointed administrator,     Civil Action No.: 3:21-cv-3473
     Kristin Bride, and Tyler Clementi
18
     Foundation, on behalf of themselves
                                              COMPLAINT
19   and all others similarly situated,       [CLASS ACTION]
20                            Plaintiff,
21                                            DEMAND FOR JURY TRIAL
           v.
22   SNAP, INC., YOLO
     TECHNOLOGIES, INC.,
23   LIGHTSPACE, INC., DOES #1-10.
24                            Defendants.
25
26
27
28
                                               1
                          Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1                                              ***
 2
                                Honoring Carson Bride, Tyler Clementi,
 3                         and for every teenager who will become upstanders.
 4
                                                ***
 5
 6                                      INTRODUCTION
 7         1.     This lawsuit is brought on behalf of Carson Bride, a 16-year-old teenager who
 8
     took his own life after being a victim of cyberbullying on the following mobile phone
 9
10   applications (“apps”): “Snapchat” owned by Defendant Snap, Inc. (“Snap Inc.”), “YOLO”
11   owned by Defendant Yolo Technologies, Inc., and “LMK” owned by Defendant
12
     LightSpace, Inc. (collectively, “Defendants”), all of which are popular apps among
13
14   teenagers.
15
           2.     Carson    asserts   claims   for   strict   liability,   negligence,   fraudulent
16
17   misrepresentation, negligent misrepresentation, and violations of consumer protection laws
18   on behalf of class members against the entities that developed and marketed Snapchat,
19
     YOLO, and LMK, for creating, maintaining, and distributing anonymous messaging apps
20
21   to teens that are inherently dangerous and defective, and for falsely promising the
22
     enforcement of safeguards. Carson’s mother, Kristin Bride, also bring claims of
23
24   misrepresentation against Defendant YOLO.
25         3.     Tyler Clementi Foundation, a national advocacy organization whose mission
26
     is to combat bullying and cyberbullying, joins in this lawsuit.
27
28         4.     The claims in this action are not about third-party users’ communications;
                                                 1
                           Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1   hence, this action does not focus on the users’ communications themselves nor does it seek
 2
     to punish the senders of the bullying and harassing messages.
 3
 4         5.      Rather, the claims here are about how the anonymous messaging apps
 5   designed and distributed products and services that are inherently dangerous, unsafe,
 6
     useless. For decades, anonymous messaging apps been known to cause severe and fatal
 7
 8   harm to teenagers, hence, the harms caused by Defendants’ apps were foreseeable.
 9
           6.      The misrepresentation claims alleged focus on the concrete statements made
10
11   by the apps about the specific actions they would take to safeguard young users from harm:

12               YOLO stated that it would reveal the identities and ban users who engage in
13
                   bullying and harassing behavior. YOLO stated that it has a zero-tolerance
14
15                 policy for bullying.
16
                 LMK stated that it would implement and enforce zero-tolerance policies
17
18                 against bullying and harassing behavior, monitor and report any bullying and
19                 harassing behavior to law enforcement, and prohibit sexually explicit and
20
                   inappropriate texts and photos.
21
22               Snapchat stated that it would remove third party apps that allow bullying and
23
                   harassing behavior on its platform.
24
25         7.      Despite the affirmative statements above, facts alleged here demonstrate that
26   Defendants’ apps are unable or unwilling to take action and carry out their promises to
27
     safeguard children.
28
                                                     2
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 1           8.      Due to the Defendants’ apps’ defective design and their misrepresentations,
 2
     millions of users are harmed daily, suffering permanent consequences.
 3
 4           9.      Defendants knew, or should have known, that irreversible, deadly
 5   consequences will arise from the use of anonymous messaging apps used by teens.
 6
             10.     In 2010, 17-year-old Alexis Pilkington from Long Island, New York was
 7
 8   cyberbullied on Formspring.me, an anonymous question and answer site, and ended her
 9
     own life.1
10
11           11.     In 2011, 15-year-old Natasha MacBryde from Worcestershire, U.K., took her

12   own life after receiving anonymous messages on Formspring.me. According to news
13
     reports, her family “believe[d] that the anonymous postings on the Formspring social
14
15   networking website were a significant contributor” to her death.2
16
             12.     In 2011, 14-year-old Jamey Rodemeyer from Buffalo, New York took his life
17
18   after receiving slurs on Formspring.me from anonymous senders.3

19           13.     In 2012, 13-year-old Ciara Pugsley, from Leitrim, Ireland took her own life
20
     after being cyberbullied on an anonymous website, ask.fm.4
21
22           14.     In 2015, 18-year-old Elizabeth Long created a Change.org petition signed by
23
24
     1
       Town angry over Net slurs at suicide victim, NBC NEWS, March 26, 2010, at https://www.nbcnews.com/id/wbna36058532
25   2
       Natasha MacBryde: Rail death teen threatened online, BBC.COM, July 21, 2011, at https://www.bbc.com/news/uk-england-
     hereford-worcester-14239702
26   3
       Jamey Rodemeyer Suicide: Police Consider Criminal Bullying Charges, ABC NEWS, September 21, 2011, at
     https://abcnews.go.com/Health/jamey-rodemeyer-suicide-ny-police-open-criminal-
27   investigation/story?id=14580832#.UXfKtrU3uSo
     4
       Third suicide in weeks linked to Cyberbullying, IRISH EXAMINER, Oct. 29, 2012, at
28   https://www.irishexaminer.com/news/arid-20212271.html
                                                               3
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 1   83,363 individuals to the creators of Yik Yak, an anonymous messaging app. Her message
 2
     in the petition is loud and clear, and an excerpt is quoted here (emphasis added):
 3
 4           My name is Elizabeth. I’m 18 years old, and earlier this year I tried to commit
             suicide. While still recovering, I started seeing messages about me on Yik Yak,
 5           anonymously telling me that I should kill myself. And I am not the only one. . . it is
 6           time that we stand up and do something about it before a life is senselessly lost
             because of this app. Yik Yak allows users to post anonymous messages that are
 7           broadcast to other users close by. . . With the shield of anonymity, users have zero
 8           accountability for their posts, and can openly spread rumors, call classmates
             hurtful names, send threats, or even tell someone to kill themselves -- and all of
 9
             these things are happening. The app claims that it is not meant to be used by
10           people under 17, but there are no safeguards to prevent younger users from
11           downloading the app . . . The app claims to not tolerate bullying or threats, but no
             action is being taken to remove threatening or harmful posts, or suspend users who
12           write them . . . we want the app removed from the Apple App Store and Google
13           Play immediately.5
14           15.     Unfortunately, change did not happen in time, and later that year in 2015,
15
     Jacob Marberger, another teenager who was anonymously cyberbullied on the same app
16
17   Yik Yak, ended his own life.6
18
             16.     In 2018, a parent witnessed her 13-year-old daughter receive an anonymous
19
20   message on the app Sarahah from a user who wrote: “I hope she kills herself.” The parent
21   started a Change.org petition that was signed by 466,714 supporters. Sarahah was removed
22
     from Apple and Google app stores after reported instances of severe cyberbullying became
23
24
25
26   5
       Shut Down the app “Yik Yak”, CHANGE.ORG, at https://www.change.org/p/tyler-droll-and-brooks-buffington-shut-down-
     the-app-yik-yak
27   6
       Student’s Suicide Prompts Investigation of College’s Culture, Yik Yak, NBC PHILADELPHIA.COM, Dec. 3, 2015,
     https://www.nbcphiladelphia.com/news/local/task-force-washington-college-jacob-marberger-bullying-social-media-yik-
28   yak/157654/
                                                               4
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 1   known to the public.7
 2
             17.      According to a media interview by Tech Crunch, YOLO’s founder Gregoire
 3
 4   Henrion stated that the app focused on blocking 10% of offensive messaging. Henrion
 5   reportedly admitted that YOLO saw reviews about bullying from its users. Yet, in that
 6
     report, Henrion brushed off the concern about bullying saying “it’s nothing compared to
 7
 8   any other anonymous app.”8
 9
             18.      Carson’s parents notified YOLO app and its founder Gregoire Henrion about
10
11   Carson’s death caused by cyberbullying and conveyed the urgency of revealing the

12   identities of the users so that they can be prevented from harming other victims. To date,
13
     no one has responded.
14
15           19.      Despite the widely reported danger of anonymous apps, opportunistic app
16
     developers like Defendants continued to reap profits using the same, defective, and
17
18   inherently unsafe designs in apps that are marketed and used predominantly by teens.

19           20.      The dangerous design of YOLO and LMK, like all the other anonymous apps
20
     described above, provide the means, motive, and opportunity for cyberbullying.
21
22           21.      This lawsuit demands that Defendants be held accountable for the wrongful
23   deaths, personal injuries, and other losses that Carson Bride and his family have suffered
24
     as a result of Defendants’ defective and dangerously designed apps.
25
26
     7
       Ban apps like Sarahah where my daughter was told to “kill herself”, CHANGE.ORG, https://www.change.org/p/app-store-
27   google-play-ban-apps-like-sarahah-where-my-daughter-was-told-to-kill-herself?redirect=false
     8
       Teen hit Yolo raises $8M to let you Snapchat anonymously, TECH CRUNCH, Feb. 28, 2020,
28   https://techcrunch.com/2020/02/28/anonymous-snapchat-group-chat-yolo/
                                                                5
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 1         22.    This putative class action further demands that Defendants be held
 2
     accountable for designing defective and dangerous products and services, and for making
 3
 4   false promises about the actions they would take to safeguard teens from cyberbullying.
 5   Such actions and misrepresentations violate consumer protection laws and other tort laws
 6
     stated herein.
 7
 8         23.    This putative class action additionally demands that YOLO and LMK be
 9
     immediately discontinued and banned from the market until they can prove that effective
10
11   safeguards are implemented and enforced. Additionally, for Snap Inc., this action demands

12   that it immediately remove all third-party apps that fail to set up appropriate safeguards for
13
     young users from cyberbullying.
14
15         24.    Defendants’ owners, investors, and affiliates should be restrained from
16
     marketing, selling, operating, and otherwise replicating its services, specifically,
17
18   anonymous messaging features, in the form of a different corporate entity and service.

19                                            PARTIES
20
21         25.    Plaintiffs, estate of Carson Bride through his appointed administrator Kristin
22   Bride, Kristin Bride on behalf of herself, and Tyler Clementi Foundation (collectively,
23
     “Plaintiffs”), bring this action, on behalf of themselves and similarly-situated putative class
24
25   members comprised of approximately 93 million U.S.-based users of “Snapchat” owned
26
     by Defendant Snap, Inc. (“Snap Inc.”), approximately 10 million users of app “YOLO”
27
28   owned by Defendant Yolo Technologies, Inc. (“YOLO”), and approximately 1 million
                                                   6
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 1   users of app “LMK” owned by Defendant LightSpace, Inc (“LMK”) (collectively,
 2
     Defendants).
 3
 4   The Plaintiffs
 5           26.      At all relevant times, Plaintiff Carson Bride was a resident and a citizen of
 6
     Oregon. Plaintiff Carson Bride on behalf of himself and all other similarly situated minor
 7
 8   users of Defendants’ apps that comprise the putative National class and Oregon sub-class,
 9
     brings this class action against each and all of the Defendants.
10
11           27.      At all relevant times, Plaintiff Kristin Bride was a resident and a citizen of
12   Oregon. Kristin Bride brings claims as the appointed administrator of Carson’s estate and
13
     on behalf of herself.
14
15           28.      Plaintiff Tyler Clementi Foundation is a bona fide 501(c)(3) organization
16
     registered in New York9 whose mission is to end online and offline bullying, harassment
17
18   and humiliation. Plaintiff Tyler Clementi Foundation advocates for and educates parents
19   and children who struggle with cyberbullying and safety issues. Plaintiff Tyler Clementi
20
     Foundation brings this class action against each and all of the Defendants on behalf of itself
21
22   and the putative National class and New York sub-class.
23
             29.      Tyler Clementi Foundation was founded in 2010 by the Clementi family in
24
25   memory of Tyler Clementi, a beloved son and family member who took his own life after

26
27
     9
       Tyler Clementi Foundation’s temporary address during the time of the pandemic is at a P.O. Box in New Jersey, but its
28   registration and work is centered in New York.
                                                                 7
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 1   suffering from cyberbullying.
 2
           30.    Tyler Clementi Foundation works with individuals, minors, schools,
 3
 4   educators, parents, companies, faith communities, universities and other individuals who
 5   themselves are or have been bullied as consumers of online platforms, or have children or
 6
     students who are at risk of being bullied as consumers of online platforms.
 7
 8         31.    Tyler Clementi Foundation’s Youth Ambassadors are members from high
 9
     schools across the country who work to prevent bullying and cyberbullying within their
10
11   schools and local communities. Youth Ambassadors serve for a one-year period. Upon

12   information, several Youth Ambassadors have used, or are currently using, Defendants’
13
     apps: Snapchat, YOLO, and LMK.
14
15         32.    In addition to the Foundation’s flagship bullying-prevention and education
16
     program #Day1, the Foundation runs other programs including the Upstander Pledge,
17
18   Upstander Speaker Series, Tyler’s Suite, and True Faith Doesn’t Bully, a public education

19   campaign that fights religious bullying.
20
           33.    Tyler Clementi Foundation has engaged in extensive advocacy efforts
21
22   propelling the introduction of bills in Congress that would prevent bullying and
23   cyberbullying. Tyler Clementi Higher Education Anti-Harassment Act was introduced in
24
     Congress in 2011 and re-introduced in every congressional session, most recently in 2019.
25
26   This bill would require colleges and universities receiving federal funding to prohibit
27
     harassment based on actual or perceived race, color, national origin, sex, disability, sexual
28
                                                  8
                           Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1   orientation, gender identity or religion.
 2
             34.      Tyler Clementi Foundation organizes research and education programs on
 3
 4   cyberbullying harms and prevention, including but not limited to gathering and maintaining
 5   statistics on bullying, educating the public about online civility, creating campaigns and
 6
     toolkits for online and offline bullying prevention (#Day1), and collaborating with Youth
 7
 8   Ambassadors to create and connect with a community of Upstanders.
 9
             35.      Specifically, by researching and creating the 2020 Cyber Safety Guides and
10
11   cyber safety campaigns such as “#Keepitcool,” Tyler Clementi Foundation helps the public

12   understand the importance of safety on social media and online platforms and de-escalating
13
     incivility that occur. According to the Foundation’s research, “84 percent of Americans
14
15   have experienced incivility first-hand and 69 percent believe that social media and the
16
     internet are to blame.”10
17
18           36.      Tyler Clementi Foundation’s cyberbullying prevention work includes

19   conducting the Survey of New York City Teens developed in collaboration with AT&T’s
20
     Corporate Social Responsibility initiative in 2016 and 2018.11 That survey was comprised
21
22   of 500 teens, 500 parents of teens, and 500 millennial parents of younger children in New
23   York City. Most recently, Tyler Clementi Foundation has engaged in survey and data
24
25
26   10
        Keep it Cool by Building Online Civility, TYLER CLEMENTI FOUNDATION, July 18, 2017, at
     https://tylerclementi.org/bullying-prevention-through-building-online-civility/
27   11
        Tyler Clementi Foundation Emphasizes Early Bullying Prevention Efforts Following AT&T Survey on Cyberbullying,
     Online Behavior, TYLER CLEMENTI FOUNDATION, Nov. 28, 2018, at https://tylerclementi.org/tyler-clementi-foundation-
28   emphasizes-early-bullying-prevention-efforts-following-att-survey-on-cyberbullying-online-behavior/
                                                               9
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 1   collection efforts to investigate the impact of social media platforms and anonymity-based
 2
     platforms on teenagers’ mental health.
 3
 4         37.    In 2016, Tyler Clementi Foundation worked with teenagers in New York City
 5   in collaboration with AT&T and the All-American High School Film Festival to educate
 6
     people about the effects of bullying and cyberbullying.
 7
 8         38.    Between 2015 and 2020, Tyler Clementi Foundation’s founders and staff
 9
     devoted time and resources to speak at more than 180 nationwide events, educating and
10
11   advocating on behalf of minors and parents about combatting bullying and cyberbullying.

12         39.    As a result of Defendants’ legal violations, Tyler Clementi Foundation has
13
     suffered injury in fact. Tyler Clementi Foundation has expended its resources to address
14
15   the harms that arise from the use of Defendants’ anonymous messaging apps.
16
           40.    If Defendants were to cease their unlawful conduct alleged herein, Plaintiff
17
18   Tyler Clementi Foundation would avoid diverting part of their organizational resources to

19   educate the consumers and the public about the surreptitious harms arising from
20
     Defendants’ apps, and the Foundation could redirect these resources to other projects in
21
22   furtherance of its mission.
23
     The Defendants
24
25         41.    Defendant Snap Inc. (“Snap Inc.”) is a Delaware Corporation with its

26   principal place of business in Santa Monica, California, doing business in California as
27
     Snapchat Inc. Each of the DOES 1-10 is the agent, servant, partner, joint-venturer, co-
28
                                                10
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 1   venturer, “media partner,” principal, director, officer, manager, employee, or shareholder
 2
     of one or more of its co-defendant(s) who aided, abetted, controlled, and directed or
 3
 4   conspired with and acted in furtherance of said conspiracy with one or more of its co-
 5   defendant(s) in said co-defendant(s) performance of the acts and omissions described
 6
     below. Plaintiffs sue each of these Doe Defendants by these fictitious names because
 7
 8   Plaintiffs do not know these Defendants’ true names and capacities. Despite reasonable
 9
     efforts, Plaintiffs have not been able to ascertain the identity of DOES 1-10.
10
11         42.    Defendant Yolo Technologies, Inc. (formerly Popshow, Inc.) is a Delaware

12   corporation with its headquarters and principal place of business in Los Angeles,
13
     California. Yolo Technologies, Inc. is the developer of the app YOLO. Each of the DOES
14
15   1-10 is the agent, servant, partner, joint-venturer, co-venturer, “media partner,” principal,
16
     director, officer, manager, employee, or shareholder of one or more of its co-defendant(s)
17
18   who aided, abetted, controlled, and directed or conspired with and acted in furtherance of

19   said conspiracy with one or more of its co-defendant(s) in said co-defendant(s)
20
     performance of the acts and omissions described below. Plaintiffs sue each of these Doe
21
22   Defendants by these fictitious names because Plaintiffs do not know these Defendants' true
23   names and capacities. Despite reasonable efforts, Plaintiffs have not been able to ascertain
24
     the identity of DOES 1-20.
25
26         43.    Upon information and belief, Defendant LightSpace, Inc., is a Cayman Island
27
     corporation with its principal place of business in Palo Alto, California. Each of the DOES
28
                                                  11
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 1   1-10 is the agent, servant, partner, joint-venturer, co-venturer, “media partner,” principal,
 2
     director, officer, manager, employee, or shareholder of one or more of its co-defendant(s)
 3
 4   who aided, abetted, controlled, and directed or conspired with and acted in furtherance of
 5   said conspiracy with one or more of its co-defendant(s) in said co-defendant(s)
 6
     performance of the acts and omissions described below. Plaintiffs sue each of these Doe
 7
 8   Defendants by these fictitious names because Plaintiffs do not know these Defendants' true
 9
     names and capacities. Despite reasonable efforts, Plaintiffs have not been able to ascertain
10
11   the identity of DOES 1-20.

12         44.    Plaintiffs further allege that each and all of the Defendants are directly liable
13
     and/or vicariously, jointly and severally liable for the violations of state consumer
14
15   protection laws and other tort law claims alleged herein.
16
           45.    At all times relevant, Plaintiffs and/or those associated with Plaintiffs used the
17
18   features of the Defendants’ apps which includes the anonymous messaging features

19   enabled through YOLO or LMK on Snapchat.
20
           46.    Upon information and belief, Defendants’ conduct directly affects millions of
21
22   users to whom each Defendant owe a legal duty of care and to whom each Defendant is
23   directly responsible for damages and the injuries caused.
24
                                  JURISDICTION AND VENUE
25
26
           47.    This Court has diversity jurisdiction over this class action pursuant to 28
27
28   U.S.C. § 1332(d)(2) because the matter in controversy, exclusive of interest and costs,
                                                  12
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 1   exceeds $5,000,000 and is a class action in which some members of the class are citizens
 2
     of states different from the states where Defendants are citizens.
 3
 4         48.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because many of
 5   the acts and transactions giving rise to this action occurred in this District as Defendants
 6
     are: (a) authorized to conduct business in this District and has intentionally availed itself
 7
 8   to the laws and markets within this District through the promotion, marketing, distribution
 9
     and sale of its products in this District; (b) currently conducting substantial business in this
10
11   District; and (c) are subject to personal jurisdiction in this District.

12                                   FACTUAL ALLEGATIONS
13
     Snapchat, LMK and YOLO apps
14
15         49.    Snapchat is an American multimedia messaging app developed by Snap Inc.
16
     One of the principal features of Snapchat is that pictures and messages are typically only
17
18   available for a short period of time. In October 2013, the app evolved from its original
19   focus on person-to-person photo sharing to featuring users’ “Stories,” content that is
20
     available to a user’s in-app friends for 24 hours.
21
22         50.    YOLO and LMK are apps on “Snap Kits” – third-party apps reviewed, vetted,
23
     and integrated for use on Snapchat so that users can access the third-party app’s features
24
25   on Snapchat’s platform.

26         51.    Through Snap Kit, new apps like YOLO and LMK can instantly gain access
27
     to millions of Snapchat’s teen users.
28
                                                    13
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 1              52.     YOLO and LMK are Snap Kit apps designed to allow Snapchat users to send
 2
     messages anonymously. Predominantly used by teens, the apps allow teens to chat,
 3
 4   exchange questions and answers, and send polling requests to one another on a completely
 5   anonymous basis – that is, the receiver of a message will not know the sender’s account
 6
     names, nicknames, online IDs, phone numbers, nor any other identifying information
 7
 8   unless the sender “reveals” himself or herself by “swiping up” in the app.
 9
10   Inherently Dangerous, Defective Design of Anonymous Apps
11
                53.     As stated in paragraphs 1 through 19 of this Complaint, the dangers associated
12
13   with anonymous apps were widely reported throughout the news, media reports, petitions,
14
     and direct notifications by consumers which were directed at, or available to Defendants.
15
16              54.     When anonymity is involved, it reinforces depersonalization which leads to

17   an increase in antinormative behavior and decrease in bystander intervention. A well-
18
     regarded study has found that “the perceived anonymity of the bystander [was] negatively
19
20   related to their propensity to intervene.”12 Also, the perceived invisibility of the
21   communicators can often lead to antinormative behavior” because the anonymity
22
     reinforces “depersonalization” (i.e., the inability to tell “who is who” online). According
23
24   to the study, “depersonalization” happens in “online environments in which people are
25
     interacting with people they already know in a face-to-face context,” as opposed to the
26
27
28   12
          N. Brody & A.L. Vangelisti, Bystander Intervention in Cyberbullying, COMMUNICATION MONOGRAPHS, 83:1, 94 (2016).
                                                                14
                                   Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1   traditional sense of anonymity where people may be complete strangers to one another.13
 2
             55.      Well-cited studies reveal that “[a]nonymity has a more negative impact on the
 3
 4   victim. Adolescents believed that the anonymous situation is more serious and has more of
 5   a negative impact on the victim.” 14 The negative feelings that a victim feels is amplified
 6
     when the bullying is anonymous, because the aggressor’s intentions and perceptions are
 7
 8   even more difficult to determine. Adolescents believe that anonymity allows individuals to
 9
     behave in ways they might not otherwise (e.g., engage in cyberbullying) since they can
10
11   remain anonymous and have more power.15

12           56.      Leading experts who have spent years studying the causes and effects of
13
     bullying found that certain apps are a “one-stop shop for the bully” because everything
14
15   they need is there: an audience, anonymity, an emphasis on appearances, and channels that
16
     range from public feeds to behind-the-back group chats.16 All of these factors exist on the
17
18   Defendants’ apps.

19           57.      According to studies, significant challenges remain in the detection and
20
     mitigation of cyberbullying. While tech firms may incorporate human labor and/or
21
22   machine-based methods to detect cyberbullying, human labor is costly and machine-based
23
24
     13
        Id.(earlier version of the study available at https://www.natcom.org/sites/default/files/pages/NCA_Anti-
25   Bullying_Resources_Brody.pdf, p. 20.)
     14
        B. Mascotto, Exploring the impact of anonymity on cyberbullying in adolescents: an integrative literature review,
26   UNIVERSITY OF VICTORIA (2015), available at
     https://dspace.library.uvic.ca/bitstream/handle/1828/5986/Mascotto_Brooke_MN_2015.pdf?sequence=1&isAllowed=y
27   15
        Id.
     16
        Katy Steinmetz, Inside Instagram’s War on Bullying, TIME, July 8, 2019, https://time.com/5619999/instagram-mosseri-
28   bullying-artificial-intelligence/
                                                               15
                                  Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1   detection are technologically infeasible to be effective. In particular, machine-based
 2
     methods of sifting through contents are largely inaccurate due to the varied role and context
 3
 4   of communication, ever-changing texts and visual lexicon of speech, the latency of the
 5   detection and mitigation after users’ exposure to harm, and the challenge of scalability
 6
     applied to a high volume of users.
 7
 8           58.      Particularly, anonymous apps pose unique challenges in detecting bullying
 9
     and harassing behavior, because the anonymity renders the construction of the users’
10
11   relationships nearly impossible.17

12           59.      According to reports, technology firms and social media firms are reluctant to
13
     hire staff to detect and take action to address bullying incidents due to the high cost of
14
15   employing labor and resources.18
16
             60.      While many apps put the burden on the users to block and report abusive
17
18   behavior on mobile platforms, this does not safeguard vulnerable teens from harm because

19   they have already been exposed to the harmful, hateful, and inappropriate messages. To
20
     prevent harm, the apps must enforce their own rule that deters abusive users by reporting
21
22   to authorities and parents, revealing their identities and banning them from the apps.
23
     Cyberbullying and Teen Suicide
24
25           61.      Experts have found that students who experienced bullying and/or

26
     17
        Chelmis, C. & Zois, D., Characterization, Detection, and Mitigation of Cyberbullying [Tutorial], ICWSM U. ALBANY
27   (2018), available at http://www.cs.albany.edu/~cchelmis/icwsm2018tutorial/CyberbullyingTutorial_ICWSM2018.pdf
     18
        Why Content Moderation Costs Billions and is So Tricky for Facebook, Twitter, Youtube and other, CNBC, Feb. 27, 2021,
28   https://www.cnbc.com/2021/02/27/content-moderation-on-social-media.html
                                                               16
                                  Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1   cyberbullying are nearly two times more likely to attempt suicide.19 Victims of
 2
     cyberbullying are at a greater risk than non-victims of both self-harm and suicidal
 3
 4   behaviors.20
 5           62.     According to the Pew Research Center, 59% of U.S. teenagers have been
 6
     bullied or harassed online.21 80 percent of teenagers who responded to the survey believed
 7
 8   that the platforms and messaging apps were not doing enough to prevent bullying and
 9
     harassment online. In this way, teenagers themselves believed that apps should be
10
11   responsible for preventing bullying on online platforms.

12           63.     The mobile app companies are in the best position to prevent cyberbullying
13
     and enforce safeguards, because users interact within the apps’ platforms instead of within
14
15   classrooms where traditional bullying had occurred. According to reports, teen victims are
16
     less likely to report to parents and school officials about cyberbullying incidents because
17
18   they worry that adults would then restrict their access to their mobile devices.22 Teens also

19   fear that they would get into trouble themselves if they had already been warned to stay off
20
     electronic devices or social media. Moreover, teens are concerned that if they report to
21
22
23
     19
        Hinduja, Sameer & Patchin, Bullying, Cyberbullying, and Suicide. ARCHIVES OF SUICIDE RESEARCH : OFFICIAL JOURNAL OF
24   THE INTERNATIONAL ACADEMY FOR SUICIDE RESEARCH (2010),           available at
     https://www.researchgate.net/publication/45289246_Bullying_Cyberbullying_and_Suicide.
25   20
        John A, Glendenning AC, Marchant A, Montgomery P, Stewart A, Wood S, Lloyd K, Hawton K, Self-Harm, Suicidal
     Behaviours, and Cyberbullying in Children and Young People: Systematic Review, J MED INTERNET RES (2018);20(4):e129
26   doi: 10.2196/jmir.9044
     21
        A Majority of Teens have Experienced Some Form of Cyberbullying, PEW RESEARCH CENTER (Sept. 27, 2018),
27   https://www.pewresearch.org/internet/2018/09/27/a-majority-of-teens-have-experienced-some-form-of-cyberbullying/
     22
        Why Victims of Bullying Often Suffer in Silence (Feb. 27, 2021), VERYWELL FAMILY,
28   https://www.verywellfamily.com/reasons-why-victims-of-bullying-do-not-tell-460784
                                                              17
                                 Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1   adults, the bullying will exacerbate or that their aggressors would retaliate.23
 2
             64.      During the COVID-19 pandemic, as of June 2020, 62 percent of parents of
 3
 4   U.S. teens aged 14-17 years stated their children were spending more than 4 hours per day
 5   on electronic devices, nearly a two-fold increase compared to the pre-pandemic times when
 6
     only 32 percent of parents of U.S. teens aged 14-17 years were spending more than 4 hours
 7
 8   per day on electronic devices.24 Upon information and belief, Defendants’ apps thrived and
 9
     profited throughout the pandemic given the surge of users’ time spent on their apps.
10
11   Carson Bride’s Death Caused by Cyberbullying
12           65.      According to his family and friends, Carson Bride was a teenager who had
13
     “an infectious smile that would brighten everyone’s day.” When he passed away from
14
15   suicide on June 23, 2020, he was 16 years old and had just completed his sophomore year
16
     in high school. He was a caring and compassionate teenager who taught ski classes to
17
18   children during winters.
19           66.      Carson took his own life by hanging himself at his home on the morning of
20
     June 23, 2020.
21
22           67.      On or about July 4, 2020, it was revealed that Carson had been bullied on
23
     Defendants’ apps Snapchat, YOLO and LMK prior to his suicide.
24
25           68.      After Carson ended his life, two psychologists who provided care to Carson

26
27   23
       Id.
     24
       Internet Demographics and Use, STATISTA, https://www.statista.com/statistics/1189204/us-teens-children-screen-time-
28   daily-coronavirus-before-during/
                                                              18
                                 Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1   and his family opined that Carson’s suicide was triggered by cyberbullying.
 2
           69.    Carson’s parents did not consent nor were present when their son Carson
 3
 4   downloaded the Defendants’ apps and presumably agreed to their Terms of Use.
 5         70.    The Defendants purport to enter in to their Terms of Service with minors who
 6
     lack the capacity to enter in to contracts in the first place.
 7
 8         71.    Carson’s mother, Kristin Bride, on behalf of her deceased son Carson Bride,
 9
     hereby disaffirms the Terms of Use, Terms of Service, Privacy Policy, and/or EULA
10
11   agreements between her son and each all of Defendants as it relates to their apps.

12
13   Cyberbullying on YOLO Anonymous Messaging App
14
           72.    Released in May 2019, YOLO (which stands for the phrase “You Only Live
15
16   Once”) is an anonymous question-and-answer app.

17         73.    YOLO launched on Snap Kit which enables the app to be integrated and used
18
     on Snapchat. YOLO users can create a content Q&A post. Incoming questions would
19
20   appear in the YOLO app, but users must go back to Snapchat to answer them.
21         74.    Upon information and belief, from January 23, 2020 to June 22, 2020, Carson
22
     received 105 messages via YOLO. He received 35 anonymous messages between January
23
24   23, 2020 and January 29, 2020. Carson received 13 anonymous messages from May 25,
25
     2020 to May 31, 2020. The anonymous messages Carson received surged from June 7,
26
27   2020 to June 22, 2020, just prior to his death, during which time Carson received 57
28
                                                    19
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 1   messages from anonymous users on YOLO.
 2
           75.     Upon information and belief, of the 105 anonymous messages Carson
 3
 4   received via YOLO, 62 messages included content that was meant to humiliate him, often
 5   involving sexually explicit and disturbing content.
 6
           76.     On May 31, 2020, messages sent to Carson included threats:
 7
 8                “Remember when someone threatened to push u [Carson] into the Grand
 9
                   Canyon, that shit was so funny”
10
11                “I’m gonna push u [Carson] into the Grand Canyon.”
12         77.     Later, on June 7, 2020, Carson received the following messages after an
13
     incident where he had fainted during his biology class: “When u passed out in Biology I
14
15   put my balls in ur mouth” and “When you passed out I ate your ass.”
16
           78.     Upon information and belief, 27 out of 105 YOLO messages involved
17
18   catfishing, a deceptive activity where a person creates a fake identity on a social platform,
19   usually targeting a specific victim for abuse. These messages are also sexually explicit in
20
     nature, including “are you a virgin”; “I WANT YOUR WEINER NOWWWW”; and
21
22   “Sometimes I print ur face out and throw darts at it…but others I just want ur tender love
23
     in the night.”
24
25         79.     Upon information and belief, on June 7, 2020, after receiving numerous

26   abusive, harassing, and upsetting messages on YOLO, Carson searched YOLO’s website
27
     and other websites searching for “YOLO reveal,” “YOLO username reveal hacks,” and
28
                                                  20
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 1   other keyword searches in an effort to find out who was sending abusive messages to him.
 2
           80.    Upon information and belief, Carson relied on YOLO’s misrepresentation that
 3
 4   YOLO would reveal the identities of the aggressors.
 5         81.    In responding to numerous abusive messages, Carson asked the anonymous
 6
     users sending him abusive messages to voluntarily “S/U” (Swipe Up) to reveal their
 7
 8   identities. None of the users chose to reveal themselves.
 9
           82.    On or about June 13, 2020, 10 days before his death, Carson asked a friend
10
11   via text message about the identities of the anonymous senders: “Do you know who is

12   sending me all these sus(picious) YOLOs. Whenever I do one I only get people either
13
     trying to catfish me or bait me into saying dumb (things) or whatever . . . I guess I
14
15   understand like a bit of sus(picious) shit every once in a while but it [is] my entire inbox
16
     of YOLO’s.”
17
18         83.    On June 21 and 22, 2020, Carson posted his final Snapchat story about starting

19   a summer job at Papa Murphy’s pizza restaurant: “Pull up to Papa Murphy’s at 3-5 on
20
     Wednesday [i]f you wanna see me working”; “Come to Papa Murphy’s and order Pizza.”
21
22         84.    On June 21 and 22, 2020, Carson received anonymous responses to his
23   Snapchat story via YOLO: “why do you make my peepee so hard”; “How big is your
24
     penis”; “How big are your balls.”
25
26         85.    Upon information and belief, on June 23, 2020, the morning of Carson’s
27
     death, the last web history found from his phone shows that Carson was again searching
28
                                                 21
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 1   “Reveal YOLO Username Online” which reflects his final painstaking attempt to find out
 2
     who was sending abusive YOLO messages to him.
 3
 4           86.     YOLO developed, designed, and distributed the anonymous messaging
 5   feature to minor users, despite the known dangers and the foreseeability of injury and
 6
     wrongful deaths caused by its services. In this way, YOLO failed to exercise the duty of
 7
 8   care owed to Carson and other users.
 9
     YOLO’s Misrepresentations
10
11           87.     On the Google Play store, YOLO is accompanied by a “Teen” content rating,
12   intentionally focusing its marketing and solicitation toward teenagers.25 According to
13
     Google Play Help, the content ratings in the app store “are the responsibility of the app
14
15   developers.” Users are not required to input their date of birth or age verification process
16
     when they sign up for YOLO.
17
18
19
20
21
22
23
24
25
26
27   25
       Google Play Help, Apps & Games Content Ratings on Google Play:
     https://support.google.com/googleplay/answer/6209544?p=appgame_ratings&visit_id=637560335067969325-
28   3904586056&rd=1
                                                           22
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 1         88.    When a user first opens YOLO after downloading it from the Apple or Google
 2
     app store, a pop-up notice fills the screen: “By using YOLO you agree the terms of service
 3
 4   (EULA) and privacy policy. YOLO has no tolerance for objectionable content or abusive
 5   users. You’ll be banned for any inappropriate behavior.”
 6
 7
 8
 9
10
11
12
13
14
15
           89.    On the first screen of the user’s interface with the app, YOLO states, “No
16
17   bullying. If you send harassing messages to our users, your identity will be revealed.”

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21
22
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28
                                                 23
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 1         90.    The YOLO App Store page also states: “Be kind, respectful, show compassion
 2
     with other users, otherwise you will be banned.”
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18         91.    In the most visible places, YOLO falsely represented it would take concrete
19   actions to enforce safeguards: that the abusive users’ accounts will be banned and their
20
     identities will be revealed.
21
22         92.    However, abusive users remain anonymous and active on the YOLO platform
23
     even after victims have repeatedly reported inappropriate content or harassment and asked
24
25   for their identities to be revealed.

26         93.    According to Apple Store’s user reviews, YOLO routinely ignores requests
27
     by consumers to ban or reveal the identity of users engaging in harassing or bullying
28
                                                24
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 1   behavior, even when users have reported death threats and suicidal thoughts:
 2
                     ******, 09/13/2020: “This app does not prevent bullying. It says above
 3                    every YOLO question that any user will get banned from the app if they
 4                    say anything considered as bullying. Well, I am very disappointed
                      because I have seen more than enough users’ telling children to “kill
 5                    themselves.” I personally know one child that had these messages
 6                    coming in repeatedly for months, and is still getting them to this day.
                      The child had even had many suicidal thoughts and actions.”
 7
 8                   *****, 05/16/2019: “I’ve gotten disgusting messages that I’ve reported
 9                    and waited to see whose name it would be so I know on my Snapchat
                      who to delete but how would I know if they don’t reveal the names
10                    instantly. When I reported this issue I pressed the report button and the
11                    conversation deleted but no name shows up so I still believe that
                      whoever is on my Snapchat is still on my friends list . . .”
12
13                   ******dove, 3/25/2020: “it says that only positive messages are
                      allowed and that if you bully or harass someone you will be banned
14
                      from yolo. But I have gotten messages where I have been bullied and
15                    that person was not banned. . .”
16
                     ******, 11/18/2019: “My daughter has been getting bullied on this app
17                    and we report/block, and this bully keeps on going and it’s about
18                    suicide! . . . If someone truly reports someone this nasty on the app, it
                      should be dealt with instantly!!”
19
20                   Briggs ****, 02/17/2020: “At a time when suicide is the number 1 killer
21                    of teens in America, we definitely don’t need apps like this where
                      bullied haters can hide behind a screen . . .”
22
23                   Ieila****: 01/14/2021: “Honestly, the hate and death threats . . . on this
                      app should be immediately taken care or when we report something
24                    someone has anonymously said.”
25
                     Uhohsp***: 08/10/2020: “In a few group chats people have been using
26
                      the ghost messages to cyberbully people by calling them fat, ugly, gross
27                    and such and sometimes even to kill themselves. . . I think it would be
28                    practical that if someone sends an outrageous message like that, getting
                                                25
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 1                        flags would result in a ban? . . . these messages hurt. I am a pre-teen
 2                        and I know kids my age are going to take these comments personally. I
                          just want everyone to stay safe.”
 3
 4         94.      According to one review, YOLO’s failure to unmask and ban abusive users
 5   from the platform encourages bullying behavior:
 6
                  Nicole *******, 09/29/2019: “it’s teaching our youth that it’s okay to hide
 7
                   behind a screen and bully. So if someone want to say something nice, they
 8                 should say it to them directly, not through an anon[ymous] messaging app
 9                 where people are constantly getting hurt and bullied . . .”

10         95.      If YOLO had followed its own stated policy and revealed the identities or
11
     banned abusive users, more users would be deterred from engaging in harassing or bullying
12
13   because they would know they would be held accountable for their actions.
14         96.      YOLO’s anonymous app hinders parents, guardians, and educators from
15
     taking action because they do not know who the sender of the message might be.
16
17         97.      YOLO’s own privacy policy states that it collects personally identifiable
18
     information to “protect and enforce our rights and the rights of other Users against unlawful
19
20   activity, including identify theft and fraud, and other violations of our Terms of Use.” The
21   Terms of use reiterates its zero-tolerance policy toward bullying and harassment.
22
           98.      Despite its representations to consumers, YOLO is unable and/or unwilling to
23
24   detect content that constitutes bullying, harassing, and inappropriate comments. YOLO is
25
     also unable and/or unwilling to ban abusive users which contradicts their own stated
26
27   policies and guidelines.
28
                                                  26
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 1         99.    Upon information and belief, Carson relied on the misrepresentations of
 2
     YOLO that it would ban and reveal identities of users engaging in bullying and harassing
 3
 4   behavior. Many users like Carson relied on these representations. According to the
 5   customer reviews (paras. 93-94), many users made reports to YOLO to unmask identities
 6
     or block abusive users but received no resolution nor any response.
 7
 8         100. Contrary to the representation that YOLO would ban and reveal users who are
 9
     engaging in bullying and harassment, YOLO failed to identify, detect, prevent, protect, or
10
11   otherwise take any action to prevent the harm that Carson suffered using the YOLO app.

12   YOLO’s misrepresentations were material and resulted in the injury suffered by Carson
13
     and other consumers.
14
15         101. Carson’s estate is therefore entitled to compensatory and punitive damages
16
     for intentionally causing physical and emotional pain and distress suffered by Carson Bride
17
18   in the months leading to his death, and the pecuniary loss and loss of society,

19   companionship, services and expenses incurred, in the amount that the jury may determine
20
     fair and reasonable.
21
22   YOLO’s Non-Response to Kristin Bride
23         102. On or around July 6, 2020, two weeks after Carson’s death, his parents Kristin
24
     and Tom Bride contacted YOLO’s app developers. Using the Contact Us form on YOLO’s
25
26   Customer Support page, Kristin and Tom wrote about the cyberbullying that occurred on
27
     YOLO and their son’s resulting death.
28
                                                 27
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 1         103. In the message to YOLO, Kristin and Tom Bride conveyed the urgency about
 2
     this topic, expressing that YOLO must reveal the abusive users’ identities to protect other
 3
 4   children from the same harm that happened to her son.
 5         104.   To date, YOLO has not responded.
 6
           105. On September 26, 2020, approximately three months after Carson’s death,
 7
 8   Carson’s parents again sent an email entitled “Our Son’s Suicide – Request for Help” to
 9
     the law enforcement email address (lawenforcement@onyolo.com) provided by YOLO for
10
11   reporting emergencies. Carson’s parents expected that sending an email to the “law

12   enforcement” address might prompt a timely response.
13
           106. In the email, Carson’s parents included details about the abusive messages
14
15   that anonymous YOLO users had sent to Carson prior to his death. In addition, Carson’s
16
     parents wrote:
17
18         “Clearly, no one was policing YOLO when my son received hundreds of abusive
           messages during the first 3 weeks of June. These offenders may very well be
19         continuing their bullying practices, especially now that they know the power of
20         their words. For this reason, we are requesting the contacts of every
           SnapChat/YOLO anonymous user who sent a message to my son’s SnapChat
21         account [] during the month of June 2020 . . . If you create an app which provides a
22         platform for the anonymous bullying of vulnerable teens, the very least you can do
           is take accountability and assist the parents of your app’s victims so that more
23         YOLO deaths do not occur.”
24
           107. The email sent to the email address “lawenforcement@onyolo.com”
25
26   immediately bounced back displaying the following error message: “The following
27
     recipient(s) cannot be reached” due to “invalid address.”
28
                                                 28
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 1         108. YOLO again misrepresented and/or implied that it would provide users a way
 2
     to contact them to report any issues that relate to law enforcement, when in fact, YOLO
 3
 4   did not even maintain such an email account.
 5         109. Kristin simultaneously sent the same message to YOLO’s Customer Support,
 6
     which was returned with an automated response, stating “We’re currently checking your
 7
 8   message and will respond as soon as we can.”
 9
           110. To date, no one from YOLO’s Support Team has responded.
10
11         111. On December 16, 2020, Kristin once again tried to reach YOLO’s team

12   through the help of Josh Golin, Executive Director of the organization Campaign for a
13
     Commercial-Free Childhood, who directly contacted Gregoire Henrion (Co-founder and
14
15   CEO of YOLO) through LinkedIn, a social media site for professional networks,
16
     demanding that YOLO provide a response to Kristin and Tom Bride.
17
18         112. To date, no one from YOLO has responded.

19         113.    On December 30, 2020, Kristin again contacted YOLO’s team through
20
     YOLO’s “Contact Us” form and email (lawenforcement@onyolo.com).
21
22         114. To date, no one from YOLO has responded.
23         115. Contrary to its representations in its Terms of Use and other policies, YOLO
24
     failed to protect, communicate, and respond to reports from its teen users and their parents.
25
26         116. Reasonably relying on the misrepresentations of YOLO with respect to its
27
     protection of users, Kristin Bride used YOLO’s service and suffered injury in fact.
28
                                                  29
                           Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1         117. Kristin is therefore entitled to compensatory damages for physical and
 2
     emotional pain and distress in the amount that the jury may determine fair and reasonable.
 3
 4         118. Kristin is also entitled to injunctive relief and punitive damages for the gross,
 5   continued, and callous misrepresentations and non-response of Defendant YOLO even
 6
     after being notified of Carson’s death multiple times.
 7
 8   Cyberbullying on LMK Anonymous Messaging App
 9         119. LMK is an anonymous Question and Answer and polling app that integrates
10
     with Snapchat through Snap Kit. LMK users can create and customize stickers and
11
12   backgrounds while sharing polls with their friends on Snapchat. Other users vote
13
     anonymously and the user who posted the poll can share results on Snapchat.
14
15         120. From January 23, 2020 to June 22, 2020, Carson received numerous messages
16   on LMK.
17
           121. On June 21 to 22, 2020, Carson received the following messages on LMK:
18
19   “Ayo where is the horse cock bb”; “Yes daddy harder daddy”; “hi babygirl do you wanna
20
     have a threesome sometime?”; “My WiFi sucks so I just flick the bean to ur Bitmoji”; “Do
21
22   them every week pls daddy I got a hard on for your reply’s just let my gf watch u and flick

23   her bean.”
24
           122.   On June 21, 2020, Carson stated in a private message to his friend on LMK:
25
26   “for some reason whenever I do one of these [posts]” people send messages containing
27
     sexually explicit and harassing comments such as “beanflickers.”
28
                                                 30
                           Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1           123. LMK maintained, developed, and distributed anonymous features which are
 2
     dangerous, despite the foreseeability of injury and wrongful death caused by its services to
 3
 4   teen users. LMK failed to take action to enforce its purported zero-tolerance policies
 5   against bullying and harassing behavior, failed to monitor and report bullying and harassing
 6
     behavior to law enforcement, and failed to prohibit sexually explicit and inappropriate texts
 7
 8   and photos sent to young users as they promised in their stated policies and guidance. In
 9
     this way, they have failed to exercise the duty of care owed to its users including Carson.
10
11   LMK’s Misrepresentations
12           124. On Google Play Store, LMK is accompanied by a “Teen” content rating sign,
13
     indicating that the app is marketed toward teenage users. According to Google Play,
14
15   content ratings are the responsibility of app developers.26
16
17
18
19
20
21
22
             125. According to the LMK’s Guidelines, LMK does “not tolerate any sexually
23
24   explicit content. This includes content in the form of text, photo, and video.” LMK
25
26
27   26
        Google Play Help, Apps & Games Content Ratings on Google Play,
     https://support.google.com/googleplay/answer/6209544?p=appgame_ratings&visit_id=637560335067969325-
28   3904586056&rd=1
                                                           31
                                Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1   represented that it “does not tolerate ANY objectionable content or abusive users.”27
 2
             126. LMK’s Terms of Use states that it will not tolerate any user who is “mean, is
 3
 4   bullying someone or is intended to harass, scare or upset anyone.” It expressly represents:
 5   “LMK does not tolerate ANY objectionable content or abusive users. Any objectionable
 6
     content posted on LMK will be reviewed by our Content Safety team.” “Reports of
 7
 8   stalking, threats, bullying, or intimidation, are taken very seriously and may be reported to
 9
     law enforcement.”
10
11           127. According to LMK’s Privacy Policy, LMK collects information about “how

12   [users] communicate with other users on LMK, such as their names, the time and date of
13
     your communications, the number of messages [users] exchange with your friends, which
14
15   friends [users] exchange messages with the most, and [the user’s] interactions with
16
     messages (such as when [users] open a message or capture a screenshot).”28
17
18           128. LMK represented that it would “go to great lengths to protect our community

19   from ‘inappropriate users’ by implementing various technology and moderation practices
20
     including: Artificial intelligence technology to identify potentially inappropriate content
21
22   within text . . . human moderation to assess whether content or user violates our
23   Community Guidelines.”29
24
             129. According to the above representations -- that LMK collects a wide variety of
25
26
     27
        Guidelines, LMK, at https://www.lmk.chat/guidelines
27   28
        Privacy Policy, LMK, https://www.lmk.chat/privacy
     29
        What is LMK doing to ensure safety within the app?, LMK Support Center, https://lmk.zendesk.com/hc/en-
28   us/articles/360047469394-What-is-LMK-doing-to-ensure-safety-within-the-app-
                                                               32
                                  Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1   private data of minor users and uses artificial intelligence technology and human labor to
 2
     discern whether contents are harmful -- LMK would have known that teen users, including
 3
 4   Carson, were receiving sexually explicit contents, bullying, and harassing messages.
 5         130. Despite its knowledge of bullying, LMK did not report the incident to the
 6
     police, did not enforce its “no tolerance” policy, and did not prohibit sexually explicit
 7
 8   content.
 9
           131. LMK represents that it is collecting a wide variety of information about the
10
11   users that would reveal their age and contents exchanged, including: “names of other users,

12   time and date of communications, number of messages you exchange with your friends . . .
13
     content information, usage information, location information, and phonebooks.”
14
15         132. Despite its representations to consumers, LMK is unable and/or unwilling to
16
     detect behavior that constitute bullying, harassing, and inappropriate comments by users
17
18   per its own policies and guidelines.

19         133. Upon information and belief, Carson relied on the misrepresentations of
20
     LMK, that it would prohibit sexual content (text, photo, and video) and report threats,
21
22   bullying or intimidation. These misrepresentations were material and resulted in the injury
23   suffered by Carson and other consumers.
24
           134. Carson’s estate is therefore entitled to compensatory and punitive damages
25
26   for intentionally causing physical and emotional pain and distress suffered by Carson Bride
27
     in the months leading to his death, and the pecuniary loss and loss of society,
28
                                                 33
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 1   companionship, services and expenses incurred, in the amount that the jury may determine
 2
     fair and reasonable.
 3
 4            135. Putative class members would use LMK’s services in the future which entitles
 5   them to injunctive relief. Putative class members are also entitled to compensatory
 6
     damages, restitution, and punitive damages in the amount that the jury may determine fair
 7
 8   and reasonable.
 9
10   Cyberbullying on Snapchat and Misrepresentations regarding Snap Kits
11
              136. Snapchat is a software service by Snap Inc. that provides a mobile app
12
13   allowing consumers to send and receive photo and video messages. Snapchat markets itself
14
     as a messaging app in which contents are posted for a short time before they disappear
15
16   from users’ view.

17            137. Market and consumer data company Statista found that, as of June 2020,
18
     66.5% of Snapchat users in the United States were between 12 and 17 years of age, making
19
20   it the No. 1 app used among teenagers.30 Since the spring of 2016, Snapchat consistently
21   ranks as the most popular social network for teenagers in the United States. Yet, 31% of
22
     young people experienced cyberbullying on Snapchat.31
23
24            138. The age rating for Snapchat is 13, but there is no age verification procedure
25
26
27   30
        Most popular social networks of teenagers in the United States from fall 2012 to fall 2020, Statista,
     https://www.statista.com/statistics/250172/social-network-usage-of-us-teens-and-young-adults/
28   31
        Id.
                                                                   34
                                    Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1   in the sign-up process.
 2
              139. Snap Kit is Snap Inc.’s platform which allows third-party apps to use Snapchat
 3
 4   features. Snap Kit grants third-party apps access to Snapchat’s Application Programming
 5   Interface (API). Third-party apps on Snap Kit can allow users to user their Snapchat
 6
     credentials to log-in.
 7
 8            140. Snap Inc. benefits from Snap Kit by bringing new users to Snapchat via third-
 9
     party apps while reengaging existing users by offering a variety of third-party, add-on
10
11   services. Third-party app developers benefit through Snap Kit by generating referral traffic

12   by tapping into Snapchat’s more than 280 million teen users world-wide.32
13
              141. Since on or around May 2019, both LMK and YOLO were approved by Snap
14
15   Inc. to be used on Snapchat through Snap Kit. Both apps are also advertised for “teens”
16
     and provide a platform for anonymous chat, polling, and Q&A.
17
18            142. Upon information and belief, YOLO and LMK’s users are predominantly

19   teens.
20
              143. Developers of third-party apps seeking access to Snap Kit must pass a human
21
22   review and approval process, and Snap Inc. reviews the functionality of the other apps to
23   ensure they satisfy Snap Inc.’s standards. Snap Inc.’s approval process is meant to retain
24
     control over the third-party app’s operations. Snap Inc.’s trust, safety and customer
25
26
27
     32
        Josh Constine, Snapchat launches privacy-safe Snap Kit, the un-Facebook Platform, TechCrunch, June 14, 2018, at
28   https://techcrunch.com/2018/06/14/snapchat-snap-kit/
                                                                35
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 1   operations teams review the third-party apps before they approve them for Snap Kit access.
 2
     Snap Inc. represented that, if Snap Inc.’s review teams have any concerns about a third-
 3
 4   party app’s “security or intentions,” the third-party app is denied access to Snap Kit.33
 5           144. According to Snap Kit App Review Guidelines, third-party apps that
 6
     “[e]ncourag[e] or promot[e] violence, harassment, bullying, hate speech, threats, and/or
 7
 8   self-harm” are considered “unacceptable.” Unacceptable features or content include
 9
     “inadequate safeguards in place to prevent this type of behavior.”34
10
11           145. Per the Snap Kit App Review Guidelines, to access Snap Kit, all third-party

12   apps “containing user generated content must have the ability to report inappropriate
13
     content and have a contact method made available to users. The developer team should be
14
15   able to swiftly and effectively handle any concerns raised about the safety of users.”35
16
             146. Snap Inc. states that if a third-party app violates the Review Guidelines or
17
18   contains unacceptable features or content, Snap Inc. will remove the third-party app. One

19   example of unacceptable features include: “Encouraging or promoting violence,
20
     harassment, bullying, hate speech, threats, and/or self-harm. This also includes inadequate
21
22   safeguards in place to prevent this type of behavior.” 36
23           147. According to Snap Kit’s Review Guidelines, where an app contains potential
24
25
26   33
        Lauren Goode, Snap Will Let Other Apps Use Its Features, But Not Your Data, WIRED, June 14, 2018,
     https://www.wired.com/story/snap-kit/
27   34
        Snap Kit App Review Guidelines, https://kit.snapchat.com/docs/review-guidelines
     35
        Id.
28   36
        Id.
                                                              36
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 1   trust and safety issues, including “user-generated content, anonymous postings . . . or an
 2
     audience that includes minors” the app would be subject to longer and on-going review
 3
 4   processes.
 5           148. Snap Inc. states that it would take negative user feedback in to account in
 6
     reviewing third-party apps. 37
 7
 8           149. Additionally, Snap Kit’s Review Guidelines state, “[a]ll apps must conform
 9
     with local laws and regulations in the jurisdiction where they are available.”38 Almost all
10
11   states and territories in the U.S. has Anti-Bullying laws that prohibit bullying and require

12   reporting incidents, prevention methods, and safeguards.39
13
             150. Upon information and belief, none of the promises and policies stated by Stan
14
15   Inc. above are enforced.
16
             151. Both LMK and YOLO were subject to Snap Kit’s Review Guidelines and
17
18   periodic review processes. But despite LMK and YOLO’s defectively designed

19   anonymous messaging features that were known to promote cyberbullying and harassment
20
     among users, Snap Inc. did not remove them from Snap Kit.
21
22           152. Snap Inc. knew about the dangers of anonymous apps that promote
23   cyberbullying, because similar problems had surfaced when Snap Inc. had previously
24
25
26
     37
        Id.
27   38
        Id.
     39
        Key Components in State Anti-Bullying Laws, Policies, and Regulations, STOPBULLYING.GOV,
28   https://www.stopbullying.gov/resources/laws/key-components
                                                              37
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 1   allowed the anonymous app Sarahah to be used in connection with Snapchat’s platform.40
 2
     Sarahah app was eventually banned from Apple and Android app stores for “making
 3
 4   bullying easy.”41
 5           153. Snap Inc. represented that third-party apps on Snap Kit are periodically re-
 6
     reviewed for compliance.42 Through numerous reports, customer complaints and negative
 7
 8   feedback – which Snap Inc. purports to take into account in their review -- Snap Inc. would
 9
     have known that the anonymous messaging apps YOLO and LMK are causing fatal harm
10
11   and that those apps had failed to enforce safeguards. Yet, contrary to the representations in

12   its Review Guidelines, Snap Inc. has not removed YOLO and LMK from its platform.
13
             154. Despite numerous reports of harassment, bullying, and harm suffered by
14
15   teenagers arising from anonymous features embedded in YOLO and LMK, Snap Inc.
16
     reviewed, vetted, and approved YOLO and LMK to be on Snap Kit, exposing millions of
17
18   teen users on Snapchat to these apps. Snap Inc. continues to provide YOLO and LMK

19   access to its platform, users, and suite of services.
20
             155. Despite its representations to consumers, Snap Inc. maintained, developed,
21
22   and distributed anonymous features together with YOLO and LMK to Snapchat’s teen
23   users, despite knowledge of their dangerous and defective design. The injuries and
24
25
     40
        How to Link your Sarahah Account To Your Snapchat – Here’s How, BUSTLE, Aug. 10, 2017,
26   https://www.bustle.com/p/how-to-link-your-sarahah-snapchat-so-your-friends-can-send-you-messages-75838
     41
        Sarahah: Popular Anonymous Messaging App Blamed for Making Abuse Easy is Kicked Off iphone and Android,
27   INDEPENDENT, Feb. 26, 2018, https://www.independent.co.uk/life-style/gadgets-and-tech/news/sarahah-banned-iphone-
     android-download-app-store-down-not-working-anonymous-curious-cat-a8228941.html
28   42
        Snap Kit App Review Guidelines, https://kit.snapchat.com/docs/review-guidelines
                                                              38
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 1   wrongful deaths caused by anonymous apps to teen users were foreseeable, but Snap Inc.
 2
     failed to maintain safeguards to protect users from harm. In this way, they have failed to
 3
 4   exercise the duty of care owed to Snapchat users including Carson Bride.
 5         156. Upon information and belief, Carson relied on the misrepresentations of Snap
 6
     Inc. that it reviewed, vetted, and approved third-party apps like YOLO and LMK, and that
 7
 8   it would remove third-party apps from Snap Kit if they fail to comply with Snap’s Review
 9
     Guidelines. These misrepresentations were material and resulted in the injury suffered by
10
11   Carson and other consumers.

12         157. Carson’s estate is therefore entitled to compensatory and punitive damages
13
     for intentionally causing physical and emotional pain and distress suffered by Carson Bride
14
15   in the months leading to his death, and the pecuniary loss and loss of society,
16
     companionship, services and expenses incurred, in the amount that the jury may determine
17
18   fair and reasonable.

19         158. Putative class members would use Snapchat’s services in the future which
20
     entitles them to injunctive relief. Putative class members are also entitled to compensatory
21
22   damages, restitution, and punitive damages, in the amount that the jury may determine fair
23   and reasonable.
24
                                CLASS ACTION ALLEGATIONS
25
26         159. Plaintiffs bring this class action on behalf of themselves and Class Members
27   pursuant to Rule 23 of the Federal Rules of Civil Procedure.
28
                                                 39
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 1         160. Plaintiffs Carson Bride and Tyler Clementi Foundation seek to represent a
 2
     national “Snapchat Class” defined as follows: All United States residents between the ages
 3
 4   of 13 and 17, who are or were registered users of Snapchat between May 10, 2018 and the
 5   date of judgment in this action, excluding Defendant, Defendant’s officers, directors, and
 6
     employees, Defendant’s subsidiaries, the Judge to which this case is assigned and the
 7
 8   immediate family of the Judge to which this case is assigned.
 9
           161. Plaintiffs Carson Bride and Tyler Clementi Foundation seek to represent a
10
11   national “YOLO Class” defined as follows: All United States residents between the ages

12   of 13 and 17, who are or were registered users of YOLO between May 1, 2019 and the date
13
     of judgment in this action, excluding Defendant, Defendant’s officers, directors, and
14
15   employees, Defendant’s subsidiaries, the Judge to which this case is assigned and the
16
     immediate family of the Judge to which this case is assigned.
17
18         162. Plaintiffs Carson Bride and Tyler Clementi Foundation seek to represent a

19   national “LMK Class” defined as follows: All United States residents between the ages of
20
     13 and 17, who are or were registered users of LMK between May 1, 2019 and the date of
21
22   judgment, excluding Defendant, Defendant’s officers, directors, and employees,
23   Defendant’s subsidiaries, the Judge to which this case is assigned and the immediate family
24
     of the Judge to which this case is assigned.
25
26         163. Plaintiffs reserve the right to re-define any of the Class definitions prior to
27
     class certification or thereafter, including after having the opportunity to conduct
28
                                                    40
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 1   discovery.
 2
           164. Plaintiffs are members of the putative class that they seek to represent.
 3
 4         165. The definition of the putative class is narrowly tailored to include only persons
 5   who can be identified through Defendants’ database of registered users for the discrete
 6
     period of time from when the Defendants’ apps launched through the date of judgment in
 7
 8   this action, or from the appropriate statutory limitations period through the date of
 9
     judgment in this action.
10
11         F.R.C.P. 23(a)

12         166. The proposed class is so numerous that the individual joinder of all its
13
     members, in this or any action, is impracticable. The exact number or identification of the
14
15   members of the putative class is presently unknown to Plaintiffs, but it is believed to
16
     comprise millions of United States residents throughout the nation, thereby making joinder
17
18   impractical.

19         167. Common questions of fact and law exist as to all Class Members. These
20
     include, but are not limited to, the following:
21
22         (a) Whether the defective design of the anonymous messaging function was
23                dangerous such that the solicitation, maintenance and distribution of the apps’
24
                  services constitute unfair and deceptive business practices;
25
26         (b) Whether the representations made by each of the Defendants’ apps were
27
                  materially misleading to consumers;
28
                                                   41
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 1         (c) Whether Defendants failed to carry out what they explicitly represented through
 2
               their app store descriptions, terms of use, and privacy policy;
 3
 4         (d) Whether Defendants’ conduct resulted in harm to consumers; and
 5          (c) Whether Plaintiffs and the Class members are entitled to an injunction, damages,
 6
           restitution, equitable relief and other relief deemed appropriate and the amount and
 7
 8         nature of such relief.
 9
           168. Plaintiffs’ claims are typical of the claims of the putative class members.
10
11   Plaintiffs and all putative Class members were subject to the above misrepresentations

12   made by Defendants and all have claims based on the same legal theories against the
13
     Defendants.
14
15         169. The factual bases of Defendants’ misconduct are common to the putative
16
     Class members and represent a common scheme and pattern of practice surrounding the
17
18   defectively designed products and services, and misrepresentations about their services and

19   guidelines, and enforcement, resulting in injury to all putative class members alike.
20
     Plaintiffs are asserting the same rights, making the same claims, and seeking similar relief
21
22   for themselves and all other putative class members.
23         170.    Plaintiffs are adequate representatives of the proposed class because they are
24
     putative class members and do not have interests that conflict with those of the other
25
26   putative class members they seek to represent.
27
           171. Plaintiffs are represented by experienced and able counsel, who have litigated
28
                                                 42
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 1   lawsuits of this complexity, and Plaintiffs’ Counsel intends to prosecute this action
 2
     vigorously for the benefit of the proposed class. Plaintiffs and their Counsel will fairly and
 3
 4   adequately protect the interests of the class members.
 5          Plaintiffs’ Class Seeks Certification under F.R.C.P. 23(b)(3)
 6
            172. The central questions of whether Defendants’ apps were dangerous and
 7
 8   defectively designed, and whether Defendants’ made misrepresentations about their
 9
     safeguards and enforcement predominate over all other questions, both legal and factual,
10
11   in this litigation.

12          173. A class action is the superior method available for the efficient adjudication
13
     of this litigation because: (a) The prosecution of separate actions by individual members
14
15   of the Class would create a foreseeable risk of inconsistent or varying adjudications which
16
     would establish incompatible results and standards for Defendant; (b) Adjudications with
17
18   respect to individual members of the Class would, as a practical matter, be dispositive of

19   the interests of the other members not parties to the individual adjudications or would
20
     substantially impair or impede their ability to protect their own separate interests; (c) Class
21
22   action treatment avoids the waste and duplication inherent in potentially thousands of
23   individual actions, and conserves the resources of the courts; and (d) the claims of the
24
     individual class members are relatively small compared to the burden and expense that
25
26   would be required to individually litigate their claims against Defendant, so it would be
27
     impracticable for the members of the Class to individually seek redress for Defendant’s
28
                                                   43
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 1   wrongful conduct. Even if the members of the Class could afford individual litigation, the
 2
     court system could not. Moreover, this action is manageable as a class action.
 3
 4   Individualized litigation creates a potential for inconsistent or contradictory judgments and
 5   increases the delay and expense to all parties and the court system. By contrast, the class
 6
     action device presents far fewer management difficulties, and provides the benefits of
 7
 8   single adjudication, economy of scale, and comprehensive supervision by a single court.
 9
           Plaintiffs’ Class Seeks Certification under F.R.C.P. 23(b)(2)
10
11         174. A class action for injunctive and equitable relief pursuant to Rule 23(b)(2) of

12   the Federal Rules of Civil Procedure is also appropriate. Defendant acted or refused to act
13
     on grounds generally applicable to the Class thereby making appropriate final injunctive
14
15   and equitable relief with respect to the Class as a whole. Defendants’ actions are generally
16
     applicable to the Class as a whole, and Plaintiffs, on behalf of the Class, seeks damages
17
18   and injunctive relief described herein. Moreover, Defendant’s systemic policy and

19   practices make declaratory relief with respect to the Class as a whole appropriate.
20
                        FIRST CAUSE OF ACTION: STRICT LIABILITY
21    (Plaintiff Estate of Carson Bride Individually and on Behalf of a National Class Against
22                                         All Defendants)
23         175. At all times relevant to this action, Defendants directed its business activities,
24
     solicited the use of, and provided service to residents in Oregon, and conducted regular,
25
26   sustained, and isolated business activity in the state of Oregon.
27
           176. Plaintiff Carson Bride brings this claim individually and on behalf of a
28
                                                  44
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 1   National class against all Defendants.
 2
           177. At all times relevant to this action, Plaintiff Carson Bride was a resident of the
 3
 4   state of Oregon.
 5         178. The acts complained of herein, and the injury suffered by Plaintiff Carson
 6
     Bride occurred in Oregon.
 7
 8         179. As alleged above, Defendants’ anonymous apps, YOLO and LMK which
 9
     integrates with Snapchat, was unreasonably dangerous for use by teenagers, and the
10
11   unreasonable danger was inherent in designing, maintaining, distributing the anonymous

12   messaging function.
13
           180. At all material times, Defendants knew, or in the exercise of reasonable care,
14
15   should have known that the anonymity features on teen messaging apps that lack adequate
16
     safeguards pose serious danger of mental harm to teen users. Yet, Defendants failed to
17
18   warn users about the dangers of using the service – instead, it made false promises about

19   preventing harm.
20
           181. Defendants’ apps promoted cyberbullying and are designed to be inherently
21
22   dangerous. LMK and YOLO are unable or unwilling to detect and identify abusive users
23   who send bullying and harassing messages. These apps are also unable or unwilling to
24
     enforce their policies where they state they would ban, reveal, and report abusive users.
25
26   Despite Snap Inc.’s policy of removing third-party apps from Snap Kit that are
27
     noncompliant, YOLO, LMK and Snapchat still lack safeguards to prevent cyberbullying.
28
                                                 45
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 1   By failing to enforce their stated policies, Defendants’ apps hinder victims, parents, adults,
 2
     and schools from identifying the abusive users and undermine efforts to prevent future
 3
 4   harm. Defendants’ products and services provide the means, motive, and opportunity for
 5   bullying to occur. Defendants’ failure to enforce their policies spreads the belief among
 6
     young users that they can impose harm behind screens without facing any consequences.
 7
 8         182. As a direct result of the defective and unreasonably dangerous design of the
 9
     Defendants’ apps, Plaintiff Carson Bride suffered from bullying and harassment by
10
11   unknown users on Defendants’ apps and suffered while being unsuccessful at getting

12   Defendants’ apps to reveal the identities of those sending harassing messages.
13
           183. Defendants’ apps caused Carson’s pain, suffering, and wrongful death.
14
15         184. The Estate of Carson Bride and Class members are therefore entitled to
16
     compensatory damages for physical and emotional pain and distress such as those suffered
17
18   by Carson Bride in the months leading to his death, and the pecuniary loss and loss of

19   society, companionship and services to Carson Bride’s parents as the jury may determine
20
     fair and reasonable.
21
22         185. The Estate of Carson Bride and Class members are entitled to punitive
23   damages for the gross, continued, and callous misrepresentations such as those caused by
24
     the non-response of Defendant YOLO toward the Estate of Carson Bride, even after being
25
26   notified of his death multiple times.
27
           186. The Estate of Carson Bride and class members are entitled to expenses such
28
                                                  46
                            Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1   as those incurred by Carson Bride for services including burial and memorial services.
 2
           187. The Estate of Carson Bride and class members are entitled to attorney’s fees
 3
 4   and reimbursement of all costs as deemed fair and reasonable by the court.
 5         188. Putative Class members use and would use Defendants’ apps in the future
 6
     which entitles them to injunctive relief.
 7
 8
                         SECOND CAUSE OF ACTION: NEGLIGENCE
 9
        (Plaintiff Estate of Carson Bride Individually and on behalf of a Nation-wide Class
10                                    Against All Defendants)
11
           189.    Plaintiff Carson Bride, adopts and incorporates by reference all allegations
12
13   contained in the foregoing paragraphs as though fully set forth herein.
14         190. Plaintiff Carson Bride brings this claim individually and on behalf of a
15
     National class against all Defendants.
16
17         191. Defendants owed a due to use ordinary care in designing, maintaining, and
18
     distributing its services to teen users.
19
20         192. Defendants were negligent in one or more of the following, each of which
21   foreseeably created an unreasonable risk of injury to Carson Bride and was a substantial
22
     factor in causing Carson’s death and Plaintiff’s resulting damages:
23
24                     Failing to remove the dangerous function of anonymous apps or
25
                         otherwise failing to use reasonable care to address the danger of
26
27                       anonymous apps created by Defendants;
28
                                                 47
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 1                    Marketing and soliciting teenagers to use the Defendants’ apps without
 2
                        safeguards knowing that bullying and harassment would proliferate on
 3
 4                      the platforms;
 5                    Failure to warn users about the serious negative effects of using the
 6
                        anonymity chat apps and instead falsely promoting positive effects;
 7
 8                    Failure to let users know that their purported safeguards (monitoring,
 9
                        reporting, banning, revealing identities) are not effective.
10
11         193. Plaintiff reserves the right to supplement its specifications of negligence as to
12   each of the Defendants after conducting reasonable and necessary discovery.
13
           194. As a direct and proximate result of the negligence of each of the Defendants,
14
15   Plaintiff Carson Bride suffered from harassment by unknown users within his networks,
16
     suffered while making unsuccessful attempts to reveal the identities of those sending
17
18   harassing messages, and suffered from the high volume of unfiltered messages sent to him
19   that caused his wrongful death.
20
           195. The Estate of Carson Bride and Class members are therefore entitled to
21
22   compensatory damages for physical and emotional pain and distress, such as those suffered
23
     by Carson Bride in the months leading to his death, and the pecuniary loss and loss of
24
25   society, companionship and services to Carson Bride’s family, as the jury may determine
26   fair and reasonable.
27
           196. The Estate of Carson Bride and Class members are entitled to punitive
28
                                                 48
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 1   damages for the gross, continued, and callous misrepresentations, such as the non-response
 2
     of Defendant YOLO toward the Estate of Carson Bride, even after being notified of
 3
 4   Carson’s death multiple times.
 5         197. The Estate of Carson Bride and Class members are entitled to expenses, such
 6
     as those incurred by Carson Bride including burial and memorial services.
 7
 8         198. The Estate of Carson Bride and Class members are entitled to attorney’s fees
 9
     and reimbursement of all costs as deemed fair and reasonable by the court.
10
11         199. Putative Class members use and would use Defendants’ apps in the future

12   which entitles them to injunctive relief.
13
           THIRD CAUSE OF ACTION: FRAUDULENT MISREPRESENTATION
14    (Plaintiff Estate of Carson Bride, individually and on behalf of a National Class, Against
15                          All Defendants; Kristin Bride Against YOLO)
16
           200. Plaintiff Carson Bride, adopts and incorporates by reference all allegations
17
18   contained in the foregoing paragraphs as though fully set forth herein.

19         201. Plaintiff Carson Bride brings this claim individually and on behalf of a
20
     National class against all Defendants.
21
22         202. Kristin Bride brings this claim against YOLO.
23         203.   Defendants engaged in the tort of common law fraud or fraudulent
24
     misrepresentation.
25
26         204. The elements of fraudulent misrepresentation are (1) the defendant made a
27
     false representation, (2) in reference to a material fact, (3) that the defendant made with
28
                                                 49
                           Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1   knowledge of its falsity, (4) with an intent to deceive, and (5) reliance was taken based on
 2
     the representation.
 3
 4         205. As described in the allegations above, the Defendants’ statements about taking
 5   specific action to address bullying and harassing behavior -- including removing third-party
 6
     apps, banning abusive users and revealing their identities, reporting to authorities -- were
 7
 8   in reference to a material fact to consumers, and Defendants knew those statements were
 9
     false when they made them.
10
11         206. The Defendants knew that victims of bullying would rely on the policies and

12   assurance.
13
           207. The Defendants knew from news reports and customer reviews that teen users,
14
15   supervising adults, app stores and app markets would consider the statement in determining
16
     whether the apps are suitable for teenagers’ use.
17
18         208. Defendant YOLO specifically set up a Contact Us form and a “law

19   enforcement” email address for purportedly enforcing their policies. However, reports
20
     made through the contact form and email address were either invalid and/or ignored.
21
22         209. Carson reasonably relied upon Defendants’ statements to their detriment when
23   he began to use YOLO. Carson, at various points throughout the months preceding his
24
     death, looked up “YOLO Identity Reveal,” trying to find ways to reveal the identities of
25
26   the anonymous message senders.
27
           210. Kristin Bride reasonably relied upon YOLO’s representations and sent
28
                                                 50
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 1   multiple requests to YOLO to urge YOLO to reveal the message senders’ identities.
 2
           211. In like manner, Plaintiff Carson reasonably relied upon Snapchat and LMK to
 3
 4   carry out their own stated policies and guidelines when using their apps.
 5         212. The Defendants’ fraudulent misrepresentations proximately caused harm to
 6
     Plaintiffs Carson and Kristin Bride. By not revealing the identities of users who were
 7
 8   sending anonymous harassing and bullying messages to Carson, the Defendants promoted
 9
     cyberbullying. Defendant’s fraudulent misrepresentation also caused Carson and Kristin to
10
11   expend painstaking, frustrating effort to reveal the identities of abusive users sending

12   harassing messages. While investigating which of his friends were sending him the abusive
13
     messages, Carson felt emotional distress, deep-seated vulnerability, and frustration. While
14
15   relying for Defendants to fulfill their promise, Kristin suffered grief, frustration, anger, and
16
     helplessness. Defendants’ fraudulent misrepresentation directly contributed to Plaintiff
17
18   Carson’s wrongful death and contributed to Carson’s and Kristin’s emotional harm.

19         213. The Estate of Carson Bride, Kristin Bride, and Class members are therefore
20
     entitled to compensatory damages for physical and emotional pain and distress such as that
21
22   suffered by Carson Bride in the months leading to his death, and the pecuniary loss and
23   loss of society, companionship and services as the jury may determine fair and reasonable.
24
           214. The Estate of Carson Bride, Kristin Bride, and class members are entitled to
25
26   punitive damages for the gross, continued, and callous misrepresentations such as the non-
27
     response of Defendant YOLO toward the Estate of Carson Bride, even after being notified
28
                                                   51
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 1   of Carson’s death multiple times.
 2
           215. The Estate of Carson Bride, Kristin Bride, and class members are entitled to
 3
 4   expenses incurred for services such as those rendered to Carson Bride including burial and
 5   memorial services.
 6
           216. The Estate of Carson Bride, Kristin Bride, and class members are entitled to
 7
 8   attorney’s fees and reimbursement of all costs as deemed fair and reasonable by the court.
 9
           217. The Estate of Carson Bride, Kristin Bride and class members are also entitled
10
11   to injunctive relief for ongoing misrepresentations by Defendants.

12         FOURTH CAUSE OF ACTION: NEGLIGENT MISREPRESENTATION
13    (Plaintiff Estate of Carson Bride, individually, and on behalf of a National Class Against
                       All Defendants; Kristin Bride against Defendant YOLO)
14
15         218. Plaintiff Carson Bride, adopts and incorporates by reference all allegations
16
     contained in the foregoing paragraphs as though fully set forth herein.
17
18         219. Plaintiff Carson Bride brings this claim individually and on behalf of a

19   National class against all Defendants.
20
           220. Kristin Bride brings this claims against Defendant YOLO.
21
22         221. Defendants committed the tort of negligent misrepresentation elements of
23   which claim are: (1) the defendant made a false statement or omission of a fact, (2) the
24
     statement was in violation of a duty to exercise reasonable care, (3) the false statement or
25
26   omission involved a material issue, (4) the plaintiff reasonably relied and to its detriment
27
     relied on the false information, and (5) the defendant’s challenged conduct proximately
28
                                                 52
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 1   caused injury to the plaintiff.
 2
           222. As described in the allegations above, Defendants made false statements about
 3
 4   enforcing a zero-tolerance policy against bullying and harassing behavior, including
 5   banning users and revealing their identity, reporting harassment by users, and removing
 6
     third-party apps that lack adequate safeguards against bullying and harassing behavior.
 7
 8         223. These false statements violated the Defendants’ duty of reasonable care to
 9
     provide accurate information to its users, the app stores, and the general public.
10
11         224. As described above, the Defendants’ statements were made in reference to a

12   material fact or issue which Plaintiffs Carson reasonably relied on to his detriment, and
13
     these statements were the proximate cause of his emotional distress damages and caused
14
15   Carson’s wrongful death.
16
           225. Kristin Bride reasonably relied upon YOLO’s representations and sent
17
18   multiple requests to YOLO to urge YOLO to reveal the message senders’ identities.

19         226. The Estate of Carson Bride, Kristin Bride, and Class members are therefore
20
     entitled to compensatory damages for physical and emotional pain and distress such as
21
22   those suffered by Carson Bride in the months leading to his death, and the pecuniary loss
23   and loss of society, companionship and services as the jury may determine fair and
24
     reasonable.
25
26         227. The Estate of Carson Bride, Kristin Bride, and class members are entitled to
27
     punitive damages for the gross, continued, and callous misrepresentations such as the non-
28
                                                  53
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 1   response of Defendant YOLO toward the Estate of Carson Bride, even after being notified
 2
     of Carson’s death multiple times.
 3
 4         228. The Estate of Carson Bride, Kristin Bride, and Class members are entitled to
 5   expenses incurred for services rendered such as burial and memorial services.
 6
           229. The Estate of Carson Bride, Kristin Bride, and Class members are entitled to
 7
 8   attorney’s fees and reimbursement of all costs as deemed fair and reasonable by the court.
 9
           230. Plaintiff Carson Bride, Kristin Bride, and Class members are also entitled to
10
11   injunctive relief for ongoing misrepresentations by Defendants.

12       FIFTH CAUSE OF ACTION: OREGON UTPA (OR. REV. STAT. §§ 646.605)
13       (Plaintiff Estate of Carson Bride, Kristin Bride, on behalf of the Oregon sub-class
                                      Against All Defendants)
14         231. Plaintiff Carson Bride, individually, and on behalf of all others similarly
15
     situated, adopts and incorporates by reference all allegations contained in the foregoing
16
17   paragraphs as though fully set forth herein.
18
           232.   The Oregon Unlawful Trade Practices Act (“UTPA”), ORS §646.605 et seq.,
19
20   protects persons who obtain real estate, goods or services primarily for personal, family or
21   household purposes from fraudulent and unfair business practices.
22
           233. The UTPA generally prohibits the false representation or false advertising of
23
24   goods and services. ORS §646.608(1)(e).
25
           234. Defendant’s apps and services are marketed to customers primarily for
26
27   personal, family or household purposes.

28
                                                    54
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 1         235. Defendants YOLO, LMK and Snap Inc. violated the UTPA in the following
 2
     respects:
 3
 4                   Creating and designing anonymous apps which are inherently dangers
 5                     and failing to use reasonable care to address the danger and risk of such
 6
                       services;
 7
 8                   Marketing and soliciting the anonymous app’ services to teenagers that
 9
                       lack adequate safeguards knowing that bullying and harassment would
10
11                     proliferate on the platforms;
12                   Failure to warn users about the serious negative effects of using the
13
                       anonymity chat apps and instead falsely promoting positive effects;
14
15                   Failure to let users know that their purported safeguards (monitoring,
16
                       detection, banning, revealing identities) are not effective; and
17
18                   Making false promises about specific actions they will take to combat
19
                       cyberbullying such as banning abusive users and unmasking their
20
21                     identity, reporting to authorities, and removing third-party apps that

22                     violate zero-tolerance policies about cyberbullying.
23
           236. Defendant YOLO made affirmative misrepresentations as follows:
24
25                   Knowingly misrepresenting that it would reveal identities of, and ban
26
                       users that engage in inappropriate and bullying conduct on the platform
27
28                     when the app is unable and/or unwilling to carry out the policy and
                                                55
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 1                         notice represented to consumers;
 2
                       Knowingly misrepresenting that it would respond to contacts made by
 3
 4                         users through the Contact Us forms and Law Enforcement emails.
 5         237. Defendant LMK made affirmative misrepresentations including: “LMK does
 6
     not tolerate ANY objectionable content or abusive users. Any objectionable content posted
 7
 8   on LMK will be reviewed by our Content Safety team.” Upon information and belief, this
 9
     statement is false.
10
11         238. Defendant Snap Inc. made affirmative misrepresentations conveying that it
12   would remove third-party apps that fail to confirm to its community guidelines against
13
     bullying and harassment. Upon information and belief, this statement is false.
14
15
           239. The unlawful trade practices alleged herein caused an ascertainable loss of
16
17   injury to Plaintiffs and the sub-class.
18
           240. Pursuant to ORS 646.638(1), Plaintiffs and each sub-class member is entitled
19
20   to a $200 minimum statutory penalty as a result of the unlawful trade practices alleged
21   herein.
22
           241. Plaintiffs and the sub-class are entitled to their reasonable attorney fees
23
24   pursuant to ORS 646.638(3).
25
           242. Plaintiffs and the sub-class are entitled to injunctive and equitable relief.
26
27
28
                                                  56
                             Bride et al. v. Snap Inc. et al. – COMPLAINT
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 1      SIXTH CAUSE OF ACTION: NEW YORK GENERAL BUSINESS LAW § 349
 2         (Plaintiff Tyler Clementi Foundation on behalf of New York sub-class against all
                                             Defendants)
 3
 4         243. Plaintiff Tyler Clementi Foundation restates each and every paragraph of this
 5   Complaint as if fully rewritten herein.
 6
           244. Plaintiff Tyler Clementi Foundation brings this claim on behalf of New York
 7
 8   Sub-Class members.
 9
           245. Plaintiff Tyler Clementi Foundation and New York Sub-Class members and
10
11   Defendants are “persons” under N.Y. Gen. bus. Law § 349(h), the New York Deceptive

12   Acts and Practices Act (“NY DAPA”).
13
           246. Plaintiff Tyler Clementi Foundation is associated with members who belong
14
15   to the defined sub-class and have used, or are currently using Defendants’ apps.
16
           247. Defendants’ actions as set forth herein occurred in the conduct of trade or
17
18   commerce under the NY DAPA.

19         248. The NY DAPA makes unlawful “[d]eceptive acts or practices in the conduct
20
     of any business, trade or commerce.” N.Y. Gen. Bus. Law § 349. Defendants’ conduct, as
21
22   set forth herein, constitutes deceptive acts or practices under this section:
23
                      Creating and designing anonymous apps which are inherently dangers
24
25                       and failing to use reasonable care to address the danger and risk of such

26                       services;
27
                      Marketing and soliciting the anonymous app’ services to teenagers that
28
                                                   57
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 1                     lack adequate safeguards knowing that bullying and harassment would
 2
                       proliferate on the platforms;
 3
 4                   Failure to warn users about the serious negative effects of using the
 5                     anonymity chat apps and instead falsely promoting positive effects;
 6
                     Failure to let users know that their purported safeguards (monitoring,
 7
 8                     detection, banning, revealing identities) are not effective; and
 9
                     Making false promises about specific actions they will take to combat
10
11                     cyberbullying such as banning abusive users and unmasking their
12                     identity, reporting to authorities, and removing third-party apps that
13
                       violate zero-tolerance policies about cyberbullying.
14
15         249. In the course of business, Defendants violated N.Y. Gen. Bus. Law § 349 by
16
     making false or misleading statements.
17
18                   In the course of business, Defendant YOLO made affirmative
19                     misrepresentations that were conveyed to Plaintiffs and Class members
20
                       including: “if [users] send harassing messages to our users, your
21
22                     identity will be revealed” and “YOLO has no tolerance for
23
                       objectionable content or abusive users. You’ll be banned for any
24
25                     inappropriate usage.” Upon information and belief, this statement is
26                     false.
27
                     In the course of business, Defendant LMK made affirmative
28
                                                58
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 1                         misrepresentations including: “LMK does not tolerate ANY
 2
                           objectionable content or abusive users. Any objectionable content
 3
 4                         posted on LMK will be reviewed by our Content Safety team.” Upon
 5                         information and belief, this statement is false.
 6
                       In the course of business, Defendant Snap Inc. made affirmative
 7
 8                         misrepresentations conveying that it would remove third-party apps
 9
                           that fail to confirm to its community guidelines against bullying and
10
11                         harassment. Upon information and belief, this statement is false.
12
13         250. In the course of business, Defendants YOLO and LMK made affirmative
14   misrepresentations in its Privacy Policy conveying to Plaintiffs and Sub-Class members
15
     that it collects personally identifiable information to “protect and enforce our rights and the
16
17   rights of other Users against unlawful activity, including identify theft and fraud, and other
18
     violations of our Terms of Use” which includes their zero-tolerance policy toward bullying
19
20   and harassment.” Upon information and belief, this statement is false.
21         251. In     the     course   of   business,   Defendant     YOLO    made     affirmative
22
     misrepresentations that conveyed to Plaintiffs and Sub-Class members that certain reports
23
24   and communications sent to their “law enforcement” email or through their CONTACT
25
     US form would be responded to in a timely manner. Upon information and belief, this
26
27   statement is false.
28
                                                    59
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 1         252. Plaintiff Tyler Clementi Foundation and New York Sub-Class members had
 2
     no way of discerning whether Defendants’ representations were false and misleading
 3
 4   because Sub-Class members do not have access to Defendants’ internal protocols, practice,
 5   and operations regarding their zero-tolerance policy and privacy policy.
 6
           253. Defendants thus violated the NY DAPA by making false statements that
 7
 8   induced reasonable consumers to believe that the apps would enforce their zero-tolerance
 9
     policy against bullying and harassing behavior, reveal the bad actors’ identities, and
10
11   monitor the contents of users for harmful content as stated in the Defendants’ marketing

12   language, app store descriptions, terms of use, and privacy policy.
13
           254. Defendants intentionally and knowingly made affirmative misrepresentations
14
15   regarding the services on their apps with intent to mislead Plaintiff Tyler Clementi
16
     Foundation and New York Sub-Class members.
17
18         255. Defendants knew or should have known that their conduct violated the NY

19   DAPA.
20
           256. Defendants’ misrepresentations of their services were material to Plaintiffs
21
22   and Class members.
23         257. Defendants’ unfair and deceptive acts were likely to, and did in fact, deceive
24
     regulators and reasonable consumers, including Plaintiffs and Sub-Class members,
25
26         258. Plaintiff Tyler Clementi Foundation and New York Sub-Class members relied
27
     on the misrepresentations when they used the apps and gave their personal information and
28
                                                 60
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 1   data to the Defendants, which Defendants used to make profit.
 2
           259. Defendants’ violations present a continuing risk to Plaintiff, New York Sub-
 3
 4   Class members, and the general public.
 5         260. Plaintiffs and New York Sub-Class are entitled to all injunctive relief, actual
 6
     and statutory damages and punitive damages to the extent available under the law,
 7
 8   reasonable attorneys’ fees and costs, and all other just and appropriate relief available under
 9
     the NY DAPA.
10
11         261. Defendants’ unlawful acts and practices complained of herein affect the

12   public interest.
13
           262. Plaintiff Tyler Clementi Foundation and New York State Class members
14
15   suffered ascertainable loss and actual damages as a direct and proximate result of
16
     Defendants’ actions.
17
18         263. Defendants have an ongoing duty to all customers and the public to refrain

19   from unfair and deceptive practices under the NY DAPA. As a result of Defendants’
20
     ongoing unlawful acts, Plaintiffs and all Class members are suffering ongoing harm.
21
22         264. As a result of the foregoing willful, knowing, and wrongful conduct of
23   Defendants, Plaintiff Tyler Clementi Foundation and Class members have been damaged
24
     in an amount to be proven at trial, and seek all just and proper remedies, including but not
25
26   limited to actual damages or $50, whichever is greater, treble damages up to $1,000,
27
     punitive damages to the extent available under the law, reasonable attorneys’ fees and
28
                                                   61
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 1   costs, an order enjoining Defendants’ deceptive and unfair conduct, and all other just and
 2
     appropriate relief available under the NY DAPA.
 3
 4
      SEVENTH CAUSE OF ACTION: NEW YORK GENERAL BUSINESS LAW § 350
 5        (Plaintiff Tyler Clementi Foundation on behalf of New York Sub-Class against all
 6                                           Defendants)
 7         265. Plaintiff Tyler Clementi Foundation incorporates by reference all allegations
 8
     in this Complaint and restate them as if fully set forth herein.
 9
10         266. Plaintiff Tyler Clementi Foundation brings this claim on behalf of New York
11
     State Class members.
12
13         267. Defendants were engaged in the “conduct of business, trade or commerce,”
14   within the meaning of N.Y. Gen. Bus. Law § 350, the New York False Advertising Act
15
     (“NY FAA”).
16
17         268. The NY FAA makes unlawful “[f]alse advertising in the conduct of any
18
     business, trade or commerce.” N.Y. Gen. Bus. Law § 350. False advertising includes
19
20   “advertising, including labeling, of a commodity . . . if such advertising is misleading in a
21   material respect,” taking into account “the extent to which the advertising fails to reveal
22
     facts material in light of . . . representations [made] with respect to the commodity . . .”
23
24   N.Y. Gen. Bus. Law § 350-a.
25
           269. Defendants caused to be made or disseminated through New York, through
26
27   advertising, marketing, and other publications, statements and omissions that were untrue

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 1   or misleading, and that were known by Defendants, or that through the exercise of
 2
     reasonable care should have been known by Defendants, to be untrue and misleading.
 3
 4         270. Defendants made numerous material and affirmative misrepresentations and
 5   omissions of fact with intent to mislead and deceive concerning the zero-tolerance for
 6
     bullying and harassing users using their apps as well as their use of personally identifiable
 7
 8   information.
 9
           271. Plaintiff and New York Sub-Class are entitled to all injunctive relief, actual
10
11   and statutory damages and punitive damages to the extent available under the law,

12   reasonable attorneys’ fees and costs, and all other just and appropriate relief available under
13
     the NY FAA.
14
15             EIGHTH CAUSE OF ACTION : CALIFORNIA BUSINESS AND
                           PROFESSIONAL CODE §§17200 & 17500
16
                (All Plaintiffs on behalf of National Class Against All Defendants)
17
18         272. Plaintiffs restate each and every paragraph of this Complaint as if fully

19   rewritten herein.
20
           273. Plaintiffs on behalf of a National Class allege claims under California
21
22   Business and Professional Code §§17200 & 17500 et seq.
23         274. Defendants have engaged in unfair competition and prohibited activities.
24
           275. Unfair competition includes any unlawful, unfair or fraudulent business act or
25
26   practice and unfair, deceptive, untrue or misleading advertising and any act prohibited by
27
     California Bus. & Prof. Code §§17200 and 17500 et seq.
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 1         276. Plaintiffs and the putative National class seek equitable relief and to enjoin
 2
     Defendants from engaging in its current practice and scheme of making misrepresentations
 3
 4   about their services and guidelines, and enforcement to the detrimental harm of its users.
 5         277. Pursuant to Cal. Bus. & Prof. Code §17200 and 17500 et seq., Plaintiffs and
 6
     the putative National class seek an order enjoining the above-described wrongful acts and
 7
 8   practices of the Defendants and for restitution and disgorgement.
 9
                   NINTH CAUSE OF ACTION : UNJUST ENRICHMENT
10               (All Plaintiffs on behalf of National Class Against All Defendants)
11
           278. Plaintiffs, individually, and on behalf of all others similarly situated, adopt
12
13   and incorporate by reference all allegations contained in the foregoing paragraphs as
14   though fully set forth herein.
15
           279. Plaintiffs, and the putative National class, conferred a tangible economic
16
17   benefit upon Defendants by signing up as a user to the apps, sacrificing privacy rights and
18
     privileges, and consuming advertisements.
19
20         280. Through the profits gained by the sale of personal and non-personal
21   information of users and other purchases facilitated on the apps, Defendants reaped
22
     hundreds of millions of dollars of profit from its dangerous and defectively designed
23
24   products and services, misrepresentations and deceptive trade practices. Defendants
25
     specifically represented in their privacy policies that they would collect private data to
26
27   monitor and detect unlawful and inappropriate content that runs afoul their policies against

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 1   bullying and harassment. Instead, Defendants were enriched by their collection of minor
 2
     users’ private data and selling it for advertisements and other profitable uses. Plaintiffs lost
 3
 4   their privacy with no benefit in exchange and was exposed to harm as a result.
 5         281. Under the circumstances, it would be against equity and good conscience to
 6
     permit Defendant to retain the ill-gotten benefits that it received from Plaintiffs and
 7
 8   members of the putative class.
 9
           282. It would thus be unjust and inequitable for Defendants to retain the benefit
10
11   reaped from Plaintiffs and National Class members without restitution or disgorgement of

12   valuable goods (e.g., personal data, in app purchases and more) provided to Defendants, or
13
     such other appropriate equitable remedy as appropriate, to the Plaintiffs and other members
14
15   of the putative National class.
16
                     TENTH CAUSE OF ACTION : INJUNCTIVE RELIEF
17                     (Plaintiffs and National Class Against All Defendants)
18
           283. Plaintiffs, individually, and on behalf of all others similarly situated, adopts
19
20   and incorporates by reference all allegations contained in the foregoing paragraphs as
21   though fully set forth herein.
22
           284.    Defendants have refused to act on grounds generally applicable to the
23
24   injunctive relief sought by Plaintiffs and other members of the putative class and subclass,
25
     thereby making final injunctive relief appropriate.
26
27         285. Defendant’s conduct, as more fully set forth herein, both in the past and

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 1   through the present, has demonstrated a willful disregard for the health and safety of minors
 2
     and their parents and made misrepresentations and deceptive trade practices.
 3
 4         286. If Defendants continue with these practices, consumers, including the
 5   Plaintiffs and the putative classes will be irreparably harmed in that they do not have a
 6
     plain, adequate, speedy, or complete remedy at law to address all of the wrongs alleged in
 7
 8   this Complaint, unless injunctive relief is granted to stop Defendant’s improper conduct.
 9
           287. Plaintiffs and the putative National class and Sub-classes are therefore,
10
11   entitled to an injunction requiring Defendants to carry out and implement the actions it has

12   set forth in its own guidance to prevent bullying. Until the time that safeguards can be
13
     implemented, Defendants’ app shall be discontinued of its service, temporarily made
14
15   unavailable on all app stores, and cease to allow users to access its app services.
16
                               PRAYER FOR RELIEF
17   WHEREFORE, the putative representative Plaintiffs, on behalf of themselves and the
18
     putative members of the class defined herein prays for judgment against the Defendants as
19
20   follows:
21         A. For an order certifying this action and/or common issues raised herein as a "Class
22
           Action under the appropriate provision of Federal Rule of Civil Procedure 23(a),
23
24         23(b)(2) and/or (b)(3); designating Class Representatives; and appointing the
25
           undersigned to serve as class counsel.
26
27         B. For notice of class certification and of any relief to be disseminated to all Class

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 1         Members and for such other further notices as this Court deems appropriated under
 2
           Fed. R. Civ. P. 23(d)(2);
 3
 4         C. For an order requiring complete and immediate disclosure of all studies, reports,
 5         analyses, data, compilations, and other similar information within the possession,
 6
           custody, or control of Defendants concerning, relating to, or involving the
 7
 8         marketing, advertising, development, implementation, creation, and partnership
 9
           between Defendants and their media partners;
10
11         D. For an order barring Defendants from destroying or removing any computer or

12         similar records which record evidence related to the claims above.
13
           E. For an order barring Defendants from attempting, on its own or through its agents,
14
15         to induce any putative Class Members to sign any documents which in any way
16
           releases any of the claims of any Putative Class Members;
17
18         F. For an order mandating YOLO and LMK to be immediately discontinued and

19         banned from the market until they can prove that effective safeguards are
20
           implemented and enforced. Additionally, for an order mandating Snap Inc. to
21
22         immediately remove all third-party apps on Snap Kit that fail to set up appropriate
23         safeguards for young users from cyberbullying. For and order restraining Defendants
24
           from marketing, selling, operating, and otherwise replicating its services,
25
26         specifically, anonymous messaging features, in the form of a different corporate
27
           entity and service;
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 1         G. For granting declaratory and injunctive relief to Plaintiffs as permitted by law or
 2
           equity, including: enjoining Defendants from continuing the unlawful practices as
 3
 4         set forth herein, and directing Defendants to identify, with Court supervision, victims
 5         of its conduct and pay them, restitution and disgorgement of all monies acquired by
 6
           Defendants by means of any act or practice declared by the Court to be wrongful;
 7
 8         H. For an award of compensatory damages in the amount exceeding $5,000,000, to
 9
           be determined by proof of all injuries and damages described herein and to be proven
10
11         at trial;

12         I. Awarding Plaintiffs and the National Class and Sub-Class members appropriate
13
           relief, including actual and statutory damages;
14
15         J. Awarding Plaintiffs, the National Class and Sub-Class members punitive damages
16
           to the extent allowable by law, in an amount to be proven at trial;
17
18         K. Awarding restitution and disgorgement of Defendants’ revenues to the Plaintiffs

19         and the proposed Class and Sub-Class members;
20
           L. Ordering Defendants to change their practice and set up safeguards to prevent
21
22         harassment and bullying online and engage in a corrective advertising campaign;
23         M. Compensation to Plaintiff Estate of Carson Bride for the physical and emotional
24
           pain and distress which Plaintiff Carson Bride suffered during months preceding his
25
26         death from the use of Defendants’ apps, for his wrongful death, for the pecuniary
27
           loss and loss of society, companionship and services to the parents of Plaintiff
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 1            Carson Bride including punitive damages against Defendant YOLO for the gross,
 2
              continued, and callous misrepresentations and non-response of Defendant YOLO
 3
 4            toward Kristin Bride and the Estate of Carson Bride, even after being notified of the
 5            Carson’s death multiple times, and expenses incurred for services rendered to Carson
 6
              Bride, decedent, including charges for burial and memorial services.
 7
 8            N. Awarding Plaintiffs and the Class reasonable attorney’s fees and costs of
 9
              prosecuting this action, including expert witness fees;
10
11            O. Awarding pre-judgment and post-judgment interest; and

12            P. Providing such other relief as may be just and proper.
13
                                             DEMAND FOR JURY TRIAL
14
15            Plaintiffs hereby demand a trial by jury for all issues a jury may properly decide and
16
     for all of the requested relief that a jury may award.
17
18
19
     Dated: May 10, 2021                                   Respectfully submitted,
20
21                                                         By:      EISENBERG & BAUM, LLP

22
                                                                    ________________________
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27
     43
        Plaintiff’s Counsel thanks student intern Patrick K. Lin (Brooklyn Law School, 2L) for his contribution to this case and
28   Complaint.
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